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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                )
                                        )
             v.                         )       1:21-CR-40 (TNM)
                                        )
DAVID LEE JUDD                          )


     Motion to Sever Mr. Judd’s Trial from Those of His Co-Defendants

      Comes now the Defendant, David Lee Judd (“Mr. Judd”), by and through

undersigned counsel, Elizabeth Mullin, pursuant to Federal Rules of Criminal

Procedure, and moves to sever his trial from those of his co-defendants.

                  FACTUAL AND PROCEDURAL BACKGROUND

      Mr. Judd is charged jointly with eight co-defendants in a 53-count superseding

indictment for offenses arising out of the events at the U.S. Capitol on January 6,

2021. Fifth Superseding Indictment, ECF No. 179. None of the joined defendants are

charged with conspiring with one another to commit any offense. None of the joined

defendants are alleged to have come to the Capitol together or to have corresponded

with one another prior to or after January 6, 2021. None of the joined defendants are

alleged to identify with a common political or social group. Indeed, none of the joined

defendants are alleged to have ever met prior to the instant proceedings.

      Despite the lack of connection between Mr. Judd and the eight joined co-

defendants, the government has grouped them together in a single indictment,

apparently based on their proximity to one another at certain times on January 6,

2021. Why the government selected these nine men to be charged together from

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among the hundreds of people in their vicinity is unclear. In most instances, despite

their physical proximity on January 6, even the video evidence of their actions does

not overlap. In fact, many of the videos that the government has produced on behalf

of Mr. Judd’s co-defendants would be inadmissible in the government’s case in chief

against him as irrelevant, since they do not even capture his conduct. Fed. R. Evid.

402.

                                       ARGUMENT

       These nine defendants are improperly joined under controlling precedent.

There is no concerted action demonstrated, or even alleged, between all of them. Their

conduct is separate and distinct, which is evident both from the face of the

Indictment, see ECF No. 179, as well as through representations made by the

government for contextualizing discovery productions.

       Moreover, there is a real danger that the jury will become confused by the mass

trial and fail to consider the evidence against each of the nine defendants

independently. The prejudice that will result from joined trials cannot be mitigated

by grouping the defendants into two randomly selected groups for trial. While the

government may claim that, notwithstanding these concerns, the cases should be

tried together to promote judicial economy, it is difficult to imagine that two joint

trials involving a seemingly random collection of defendants will not become

sidetracked and delayed with countless evidentiary motions, among other issues.

More importantly, balancing the efficiency imperatives of joinder against the

substantive rights of criminal defendants has been foreclosed by the Supreme Court,



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as discussed infra Part II. In light of the potential for prejudice, the only relief that

guarantees Mr. Judd’s substantive rights is severance.

   I.     The defendants are improperly joined under the controlling
          interpretation of Rule 8(b).

        Rule 8 of the Federal Rules of Criminal Procedure permits joinder of

defendants only if “they are alleged to have participated in the same act or

transaction, or in the same series of acts or transactions constituting an offense or

offenses.” Fed. R. Crim. P. 8(b). To properly join two defendants in this District, the

government must sufficiently demonstrate “the existence of a common scheme or plan

spanning both transactions and both defendants.” United States v. Perry, 731 F.2d

985, 991 (D.C. Cir. 1984) (emphasis added).

        A. There is an insufficient nexus to support the joinder of Mr. Judd
           with at least seven of his co-defendants.

        Though generally favored, joinder does not “authorize the Government to

string together, for common trial, eight or more separate and distinct crimes,

conspiracies related in kind though they might be, when the only nexus among them

lies in the fact that one man participated in all.” Kotteakos v. United States, 328 U.S.

750, 773 (1946) (emphasis added). Rather, each defendant must be logically relevant

to each of their co-defendants. See id.; see also Perry, 731 F.2d at 990 (“[T]here must

be a logical relationship between the acts or transactions within the series.”); see also

United States v. Jackson, 562 F.2d 789, 796 (D.C. Cir. 1977) (“[I]f acts were part of a

common scheme or plan, or connected together, they could be regarded as a series.”).




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      Of course, Kotteakos was decided shortly before the Federal Rules of Criminal

Procedure became effective. However, the principle is reflected in contemporary case

law. For example, in a case cited favorably by the District of Columbia Circuit in

Jackson, the Fourth Circuit observed:

      There is nothing in the evidence to show that Whitehead and Meredith
      could have been joined in the same indictment. Whitehead allegedly
      dealt with Jackson, and Jackson with Meredith. The burden is on the
      government to show that persons to be joined participated in the same
      act or transactions, or in the same series of acts or transactions.
      Although there was a ‘series’ of transactions involving a common
      denominator (Jackson), the government did not meet its burden of
      proving that there was any connection between appellant’s offense and
      Meredith’s offense. Carried to its logical conclusion, the government’s
      theory might well allow us to join in a common indictment and trial two
      delinquent taxpayers who used the same accountant. Such a result
      approaches the ridiculous. Clearly, the joinder of Whitehead and
      Meredith in the instant case was improper.”


United States v. Whitehead, 539 F.2d 1023, 1025 (4th Cir. 1976); see also Jackson,

562 F.2d at 796 (citing to Whitehead for the proposition quoted).

      While Mr. Judd’s charges are similar to 1 those of his co-defendants, he is only

alleged to have participated in acts involving one co-defendant, Defendant Stevens.

Fifth Superseding Indictment, ECF No. 179 at 8, 16 (Counts 16, 33). Indeed, the

joined defendants were unknown to one another until the start of the instant

proceedings. Unlike the other charged January 6 conspiracies, these joined

defendants had no shared plans or agreements regarding their conduct that day,



1“Similar” conduct is plainly insufficient for joinder under Rule 8(b). See Jackson,
562 F.2d at 796 (“When similar but unrelated offenses are jointly charged [even] to
a single defendant, some prejudice almost necessarily results”) (quoting Cupo v.
United States, 359 F.2d 990, 993 (D.C. Cir. 1966)).
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having traveled from different parts of the country for their own individual reasons.

While at the Capitol, they are alleged to have committed separate acts,

notwithstanding the grouping of those disparate acts in certain counts. See, e.g., id.

at 16 (charging all nine defendants with obstruction in Count 34, despite the fact that

each defendant engaged in distinct conduct).

      Because Mr. Judd’s alleged actions were wholly separate and distinct from at

least seven of the joined co-defendants, these parties are improperly joined. As the

principle articulated in Kotteakos established, Defendant Stevens’ relevancy to the

other seven co-defendants is insufficient as a basis for supporting the joinder of the

entire group. Kotteakos, 328 U.S. at 773. Thus, unless the government demonstrates

a logical nexus between Mr. Judd and the other seven co-defendants, the Court must

sever the proceedings. Grouping the defendants into two randomly selected groups

will not be sufficient to mitigate the prejudice caused by the misjoinder.

      B. The conduct alleged against Mr. Judd and his eighth co-defendant,
         Defendants Stevens, was not part of the same “transaction” within
         the meaning of Rule 8(b).

      Like its civil joinder counterpart, Rule 8 reflects the mid-20th century

litigation reforms that were designed to promote judicial economy through the

aggregation of related claims. 2 Specifically, both rules permit joinder where parties



2Compare Edward Q. Carr, Some Aspects of Joinder of Causes, 5 Fordham L.R. 452,
457 (1936) (“Contemporary reforms in practice and [civil] procedure include the
removal of many of the restrictions covering the joinder of causes of action in the
complaint. The policy of modern statutes is to encourage joinder of causes…animated
by motives of practical expediency.”), with Reform in Criminal Procedure, 50 Yale L.J.
107, 108 (1940) (“It is customary to regard procedural reform as a streamlining
operation…[I]n the reform of criminal procedure… it must not only provide speed and
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are involved in the same transaction, or same series of transactions, because the

overlap in material facts facilitates increased efficiency when litigating the matters

together. Compare Fed. R. Civ. P. 20(a)(1)(A), (a)(2)(A) (“…arising out of the same

transaction, occurrence, or series of transactions or occurrences”), with Fed. R. Crim.

P. 8(b) (“…participated in the same act or transaction, or in the same series of acts or

transactions”); see also Jackson, 562 F.2d at 794 (“[T]he excuse being the benefit to

the courts.”) (observing that the purpose of Rule 8 is the promotion of judicial

economy). While there is a policy favoring joinder where joinder would create

efficiencies, United States v. Mason, 951 F.3d 567, 576 (D.C. Cir. 2020), cert. denied,

140 S. Ct. 2787 (2020) (quoting Perry, 731 F.2d at 991), it must be clear that

efficiencies actually exist. See Perry, 731 F.2d at 990 (“Where … there are no

presumptive benefits from joint proof of facts relevant to all the acts or transactions…

Rule 8(b) comes to an end, and joinder is impermissible.”) (quoting Jackson, 562 F.2d

at 794-95).

      That said, criminal procedure analogy to the civil context always has its

limitations. As the Court of Appeals for the District of Columbia Circuit observed

after the modern Rules were implemented:

      ‘The civil model . . . is often inappropriate in criminal procedure, and no
      subject illustrates this fact better than joinder.’ Efficiency ‘the
      conservation of judicial energy and the avoidance of multiplicity of
      litigation’ may be pursued with single-minded devotion in the rules and


efficiency of administration, but it must also safeguard the interests of a multitude of
uncounselled ‘little people.’”) (emphasis added); see also Jackson, 562 F.2d at794
(“This would be consistent with the pattern of the Civil Rule that the draftsmen seem
generally to have taken as their model”) (describing Rule 8 as the intended analogue
to the joinder rule under the Federal Rules of Civil Procedure).
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      doctrines of civil procedure, but, on the criminal side, solicitude for
      efficient judicial administration must sometimes give way to the
      need to protect the rights of defendants.”

Jackson, 562 F.2d at 799 (quoting 8 Moore’s Federal Practice § 8.02(1), at 8-3 (2d ed.

1976)) (emphasis added). Because of the potential for prejudice in the criminal

context, the efficiency of joinder must typically be evident from the face of the

indictment, as in the case of conspiracy, or clearly established in pre-trial

proceedings. See, e.g., id. (“T]his possibility of [efficiency] benefit should explicitly

appear from the indictment or from other representations by the government before

trial.”); see also Perry, 731 F.2d at 990 (“Quite obviously, the indictment might satisfy

this requirement, for instance when a conspiracy charge links all the offenses and

defendants. Subsequent pre-trial representations, however, may suffice equally to

satisfy Rule 8(b).”); but see, e.g., Thomas v. United States, 849 F.3d 669 (6th Cir.

2017), cert. denied, 138 S. Ct. 261 (2017) (holding that a court may only look to the

face of the indictment for making such a determination).

      In Perry, the District of Columbia Circuit applied Rule 8(b), and observing its

potential for prejudice, it reaffirmed the standard first articulated in Jackson: the

government carries the burden of sufficiently demonstrating “the existence of a

common scheme or plan spanning both transactions and both defendants.” Perry, 731

F.2d at 991 (emphasis added). Of course, two defendants charged in the same

conspiracy almost always satisfies this standard, because a conspiracy charge is the

“common thread that ties all of the defendants and charges together.” U.S. v. Edelin,

118 F. Supp. 2d 36, 39 (D.D.C. 2000) (“Rule 8(b) . . . makes clear that joinder for trial



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is proper where the indictment charges multiple defendants with a single conspiracy

and also charges some of the defendants with substantive counts arising out of the

conspiracy.”) (citing United States v. Simon, 839 F.2d 1461, 1472 (11th Cir. 1988))

(emphasis added). This is true even when both defendants are not charged in each

count, provided each count relates to the same conspiracy. See Fed. R. Crim. P. 8(b);

see also Perry, 731 F.2d at 991 (“The district court here was presented with two

cocaine transactions involving the same purchaser, the same intermediary … [t]here

was certainly an ongoing relationship, if not a single ongoing transaction.”) (finding

sufficient factual overlap between charges involving the same conspiracy, despite the

fact that defendants were not charged together in all of the same counts).

      Whether proximal conduct not charged as a conspiracy can satisfy the

controlling “common scheme or plan” standard is far less clear. Here, the only factual

overlap in Mr. Judd’s case that is evident from the face of the Indictment appears in

just two of the 53 counts, in which he is alleged to have encouraged (i.e., waved,

cheered) the assaultive conduct of Defendant Stevens. Fifth Superseding Indictment,

ECF No. 179 at 8, 16 (charging Mr. Judd with aiding and abetting). If the government

seriously contends that mere cheering is sufficient to render two defendants part of

the same “common scheme or plan” within the meaning of Rule 8(b) and Perry, it

must concede that these attenuated links could apply to most, if not all, of the 704

January 6 defendants. The absurdity of this logical extreme underscores the fact that

the differences in the January 6 cases—including the nine joined here—far




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overshadow the commonalities, yielding few, if any, efficiencies through joinder. 3 See

also Whitehead, 539 F.2d at 1025 (“Such a result approaches the ridiculous.”).

      More likely, the differences would produce serious confusion and, by extension,

inefficiency. That is precisely why, in the civil context, where an even broader joinder

rule controls, this Court found that a party “cannot join defendants who simply

engaged in similar types of behavior, but who are otherwise unrelated; some

allegation of concerted action between defendants is required.” Spaeth v. Michigan

State Univ. Coll. of L., 845 F. Supp. 2d 48, 53 (D.D.C. 2012) (quoting Grynberg v.

Alaskan Pipeline Co., No. 95–cv–725(TFH), 1997 WL 33763820, at *1, 2 (D.D.C.

March 27, 1997) (“Courts have not joined totally independent actors, without any

allegation of concert or conspiracy”)) (emphasis added); see also Perry, 731 F.2d at 990

(“Where … there are no presumptive [efficiency] benefits from joint proof of facts

relevant to all the acts or transactions…joinder is impermissible.”). Concerted means

“mutually contrived or agreed on.” 4 Here, no actions “concerted” in nature are even

alleged by the government.

      While Mr. Judd readily concedes that joinder is favored and flexibly applied,

he respectfully submits that the reasons why joinder is favored are not present here.



3 Indeed, the heartland of joinder efficiency, i.e., mutual relief or liability, is not in
play here: the determination of any material fact in Mr. Judd’s case will not resolve
any material fact or issue in his co-defendants’ cases, and vice versa. Even if, for
example, the jury determines that Defendant Stevens did not commit the assaults
alleged in Counts 16 and 33, Mr. Judd may still be convicted of aiding and abetting
those acts. See Standefer v. United States, 447 U.S. 10, 20 (1980) (expressly rejecting
the principle of nonmutual collateral estoppel for the purposes of a Section 2 charge).
4 Concerted, Merriam-Webster (last visited Jan. 14, 2022) (emphasis added),

https://www.merriam-webster.com/dictionary/concerted.
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Instead, the de minimis factual overlap and lack of mutual liability strongly suggest

that there are no efficiencies to be gained in trying Mr. Judd with Defendant

Stevens 5, and as such, they have been improperly joined.

    II.      Even assuming the defendants are properly joined under Rule 8(b),
             the Court should sever Mr. Judd’s trial from his co-defendants to
             protect his substantive rights.

          Pursuant to Rule 14(a), “[i]f the joinder of offenses or defendants in an

indictment. . . appears to prejudice a defendant. . . the court may. . . sever the

defendants’ trials, or provide any other relief that justice requires.” Fed. R. Crim. P.

14(a). The decision to grant severance remains firmly within this Court’s discretion

and the Court may exercise its discretion to sever the defendants even if it finds they

are properly joined. See Zafiro v. United States, 506 U.S. 534, 541 (1993); Edelin, 118

F. Supp. 2d at 41.

          Like Rule 8, courts have interpreted Rule 14 in favor of joinder. See Zafiro, 506

U.S. at 539. However, as explored supra Part I, the general approval of joinder is not

without limitation: the Supreme Court has made clear that severance of properly

joined defendants is appropriate where, as here, there the dangers for “transference

of guilty from one [defendant] to another . . . subconsciously or otherwise, are so great

that no one can really say prejudice to a substantial right has not taken place.”

Kotteakos, 328 U.S. at 750; see also United States v. Nicely, 922 F.2d 850, 853 (D.C.

Cir. 1991) (“[T]here are definite limits to what the government can put together in a



5 Presently, Mr. Judd has been grouped in group 2 and will not be tried with
defendant Stevens. Mr. Judd maintains that grouping defendants in two groups for
trial will not mitigate the prejudice of joint trials.
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single indictment.”). The Court has observed that “such risk is ‘heightened’ when, for

example, ‘many defendants are tried together in a complex case and they have

markedly different degrees of culpability’ or evidence ‘that would not be admissible if

a defendant were tried alone is admitted against a codefendant.’” United States v.

Franklin, No. CR 04-128 (RMC), 2005 WL 8157514, at *2 (D.D.C. Dec. 16, 2005)

(quoting Zafiro, 506 U.S. at 539).

      In Kotteakos, the Supreme Court applied these principles in assessing the

appropriateness of joinder of 34 defendants. 328 U.S. at 772-75. While the indictment

charged a single conspiracy, the Court found that proof introduced at trial actually

established eight or more distinct conspiracies, loosely connecting the various

defendants through an incomplete overlap in membership. Id. at 774. Because of the

concern that the broad web of conspiracies would overshadow individual conduct, the

Court held that the defendants were improperly joined. Id. at 774. Specifically, the

Court recognized the danger of prejudice where joinder has the tendency to falsely

amplify the scope of criminal culpability:

      When many conspire, they invite mass trial by their conduct. Even so,
      the proceedings are exceptional to our tradition and call for use of every
      safeguard to individualize each defendant in his relation to the mass.
      Wholly different is it with those who join together with only a few,
      though many others may be doing the same and though some of
      them may line up with more than one group.
      Criminal they may be, but it is not the criminality of mass
      conspiracy. They do not invite mass trial by their conduct. Nor
      does our system tolerate it. That way lies the drift toward
      totalitarian institutions. True, this may be inconvenient for
      prosecution. But our Government is not one of mere convenience or
      efficiency. It too has a stake, with every citizen, in his being afforded our
      historic individual protections, including those surrounding criminal


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      trials. About them we dare not become careless or complacent when that
      fashion has become rampant over the earth.


Id. at 773 (emphasis added). The Court further held that the trial court’s caution to

the jury “to consider each defendant’s case separately” was not enough to mitigate

the error, because it permeated the atmosphere of the entire trial. Id. at 769-70. In

fact, the Court was so convinced of the potential for prejudice that its decision was

not impacted by the fact that some of the defendants were acquitted. Id. at 768-69.

Finally, the Court squarely rejected the government’s argument that Rule 14

necessitates a consideration of the potential for joinder efficiencies that can override

concerns about prejudice:

      True, this may be inconvenient for prosecution. But our government is
      not one of mere convenience or efficiency. It too has a stake, with every
      citizen, in his being afforded our historic individual protections,
      including those surrounding criminal trials.


Id. at 773.

      The dangers of a mass trial that the Kotteakos Court recognized are also

present here. Mr. Judd is charged by indictment with eight other defendants with no

single, common thread tying all of the defendants together. 6 While the compounding

concern present in Kotteakos—i.e., that the jury would also be confused by the



6As observed supra Part I (A), it is not enough that a single defendant is relevant to
each of the other defendants. See Kotteakos, 328 U.S. 750, 773 (“[Joinder does not]
authorize the Government to string together, for common trial, eight or more separate
and distinct crimes, conspiracies related in kind though they might be, when the only
nexus among them lies in the fact that one man participated in all”).7 Indeed, the
differences in degrees of culpability are also evidenced by the fact that Mr. Judd was
released on bond, while some of his co-defendants remain detained.
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difference between the conspiracy charged and the conspiracies actually evidenced—

is not at issue here, the prejudice concern is highly analogous. Specifically, there is a

danger that the jury will associate each defendant with the collective conduct.

       The Supreme Court has found that this concern is particularly pressing where,

as here, there are significantly different degrees of culpability among the joined

defendants, and where much of the evidence is only admissible against one party.

Zafiro, 506 U.S. at 539; see also United States v. Erwin, 793 F.2d 656, 666 (5th Cir.

1986) (holding severance required because “[t]he charges against [defendant] were

only peripherally related to those alleged against the other [co-defendants, and] [a]s

the trial progressed, it became increasingly apparent that very little of the mountain

of evidence was usable against her”). While Mr. Judd, like his co-defendants, stands

accused of assault with a dangerous weapon, the facts reveal significant differences

in “degrees of culpability.” Zafiro, 506 U.S. at 539. 7 For example, in his most serious

charge, Mr. Judd is alleged to have tossed a small firecracker into a crowd, which

caused no injuries. Fifth Superseding Indictment, ECF No. 179 at 11 (Count 22). In

sharp contrast, Defendant Quaglin is alleged to have (1) pushed an officer to the

ground, (2) hit an officer in the face and neck with a riot shield, and (3) sprayed an

officer directly in the face with a chemical irritant. Id. at 6 (Count 11); id. at 11 (Count

23); id. at 13 (Count 26). These troubling allegations against Defendant Quaglin,




7Indeed, the differences in degrees of culpability are also evidenced by the fact that
Mr. Judd was released on bond, while some of his co-defendants remain detained.
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among other co-defendants, are obviously far more serious than the allegations

against Mr. Judd, and Mr. Judd stands to be deeply prejudiced by association.

      Finally, while the government may argue that a joint trial will promote judicial

economy, Kotteakos foreclosed the balancing of prejudice against efficiency where the

defendant’s substantive rights are at issue. 328 U.S. at 773 (“[O]ur Government is

not one of mere convenience or efficiency...about [individual protections] we dare not

become careless or complacent when that fashion [of efficiency] has become rampant

over the earth.”). Moreover, and as explained supra, it is hard to imagine that a trial

of multiple defendants on 53 separate, substantive counts will not invite confusion,

chaos, and delay: it would be tantamount to holding a trial for nine different

defendants who all happened to commit separate robberies on the same day in the

same general location. No Court would permit such misleading and logically

irrelevant amplification of each individual defendant’s charges. Likewise, this Court

should not permit Mr. Judd to sit as a defendant in a mass trial of unrelated

defendants each facing their own separate and distinct charges.



                                      CONCLUSION

   For the foregoing reasons, Mr. Judd moves to sever his trial from that of his co-

defendants.



                                               Respectfully submitted,

                                               DAVID L. JUDD
                                               by counsel:

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